           Case 3:16-mc-80263-RS Document 49-7 Filed 05/05/17 Page 1 of 18




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16
                                 NORTHERN DISTRICT OF CALIFORNIA
17
                                       SAN FRANCISCO DIVISION
18

19   IN THE MATTER OF THE SEARCH OF       )   Case No. 3:16-mc-80263-LB
     CONTENT STORED AT PREMISES           )
20   CONTROLLED BY GOOGLE INC. AND        )   REDACTED VERSION OF DOCUMENTS
     FURTHER DESCRIBED IN ATTACHMENT      )
21   A                                    )   ATTACHMENT TO STIPULATION REGARDING
                                          )   REDACTIONS
22                                        )
                                          )   (PART 4 of 5)
23                                        )
                                          )
24                                        )
                                          )
25

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     REDACTED VERSION OF DOCUMENTS
      Case 3:16-mc-80263-RS Document 49-7 Filed 05/05/17 Page 2 of 18



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                  Case3:13·xe556-LB Document23 Filed06/16,,!;j Pagel of 9
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                                                                           FILED                    ;l
 3 Chief, Criminal Division                                                JUN l 6 2014             'I
                                                                                                    ' !

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10                                . UNITED STATES DISTRICT COURT

11                               . NORTHERN DISTRICT OF CALIFORNIA
12                                       SAN FRANCISCO DIVISION

13
   lN RE SEARCH OF THE CONIBNT OF                       CASE NO. 13 90556-MISC-LB
14 GMAIL ACCOUNT,
15
      -and-                                         l   STIPULATION FOR THE RESOLlJTION OF
                                                    ) THE GOVERNMENT'S MOTION FOR AN
   IN RE SEARCH OF THE CONTENT OF                   ) ORDER TO SHOW CAUSE AS TO GOOGLE
16 ACCOUNT (XXX) XXX-9145-SERVICED BY)) INC.
   GOOGLE VOICE                       )·
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           Case 3:16-mc-80263-RS Document 49-7 Filed 05/05/17 Page 3 of 18




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       1           1.     Pursuant to Criminal Local Rule 47-4, Google Inc. ("Google") and the United States
      2 jointly submit this Stipulation.
       3 PROCEDURAL HISTORY
       4           Match Subpoena
      5            2.     On Match 28, 2013, a federal Grand Jury subpoena was serv:ed on Google (the "March
      6 subpoena"). '.fhat subpoena commanded a Google representative to produce, inter alia, records
      7 associated with a specified phone number serviced by Google (the "subject number") by April 12, 2013.
      8 The records sought were generally for subscriber data, including any connection records, and riames.
      9 The subpoena provided that in lieu of producing records, a Google Custodian of Records could appear to.
     10 testify,
     11            3.    The March subpoena was accompanied by a cover letter specifying that if Google
     12 anticipated having any problems meeting the subpoena deadline, that it should conta(}t the assigned
     13 AUSA rather than waiting until the subpoena return date passed. The letter provided the direct dial
     14 numbers of both the AUSA and. agent.
     15            4.    Google represents that it promptly began processing the March subpoena, but
     16 experienced issues, described below, that delayed its response. The parties agree that Google did not
     17 produce any records or have a Custodian of Records appear to provide testimony before the Grand Jury
     18 by April 12, 2013 as required. The parties also agree that Google did not contact the government to seek
     19 an extension oftime for compliance with ·the Grand Jury subpoena.
     20        . 5.      On April 19, 2013, Google responded to the March subpoena with a letter transmi~ed by
     21 email stating that after a "diligent search," Google had found no subscriber information for the subject
     22 number and therefore did not haye any documents responsive to the request. The email transffi:itting the
     23 letter, which was sent from a dedicated email address for sending outgo:ing productions, stated that no
     24 replies to the email address were accepted.
     .25           April Search Warrant
     26            6.     On April 30, 2013, the Honorable Nathanael Cousins issued a search warrant for
     27 infonnation and content associated with the subject number (the "April warrant"). The April warrant
     2~ was served on Google via fax on the following day. The warrant Judge Cousins issued commanded the

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     Case 3:16-mc-80263-RS Document 49-7 Filed 05/05/17 Page 4 of 18




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 l   authorized law enforcement officer to execute the warrant on or before May }3, 2013.
 2          7.      The parties agree that Google did not produce information called for by the April warrant
 3   on May 13, 2013.
 4          8.      On May 22, 2013, Special Agent Megan Long emailed Google to report that the
 5 government had not received any records in response to the April warrant and requested a contact
 6 telephone number to speak with someone at Google regarding not receiving anything back in response
 7   to the April warrant. The parties agree that Google did not respond to this message.

 8          9.      On May 29, 2013, Google responded to the April warrant with a letter stating that Google

 9 had found no subscriber information for the subject number and therefore did not have any documents
                                                                                                                           t
1O responsive to the warrant. This information may or may not have been correct, as discussed further
11   below in Paragraphs 23-25.
                                                                                                                       I
12

13
            May Search Warrant
            10.     On May 30, 2013, the Honorable Joseph C. Spero issued a search warrant for content
14 associated with a specified Gmail account (the "May warrant"). The May warrant commanded the
                                                                                                                      Ii
                                                                                                                           I

15 authorized law enforcement officer to execute the warrant on or before June 10, 2013, and commanded
16 Google to produce the materials "forthwith." The warrant was served on Google via email the morning
17 ofMay 31., 2013. The May warrant       was accompanied by a cover letter from Assistant U.S. Attorney
18   K~th:ryn Haun stating that the Court had ordered Google's compliance on or before June 10, 2013, · ·
19   noting this was a date that had been set by the Court and that the last Court. Order in the investigation
20 had not been timely complied with and highlighted that this perurined to a murder case.
21          11.     The parties agree that Google did not produce ,responsive information to the May warrant
22   by June 10, 2013. The witness whose email account was the subject of the May warrant testified on·
23   June 12, 2013 before the Grand Jury. The parties agree that the Grand Jury did not have the records          \
                                                                                                                 .,
24   called for by the May warrant on June 12, 2013.                                                              j
            12.     On June 12, 2013, AUSA Haun sent a letter to Google vja email asserting non-
26 compliance with both the April warrant and the May warrant



                                                                                                                 II,
27           13.    On the evening of June 12, 2013, a-Google employee left a voicemail for AUSA Haun
28 stating that (1) Google did not have records responsive to the April warrant because the account

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 1 associated with that phone number had been deleted and (2) Google would expedite production on the
 2 May warrant. The voicemail left no return number but specified that if there were any questions AUSA
 3 Haun could send an email to Google's compliance email address and include the employee's name in
 4 the subject line so that it would reach that employee.

 5          14.    · On June 13, 2013, in response to the voicemail left for AUSAHaun the night before,
 6 AUSA Haun emailed the compliance email address addressing it to the employee in the subject line as
 7 directed, and stating that Google's reply was not satisfactory and asking that the matter be elevated. No
 8 reply email or call was recei'ved, but later that same day Google delivered the records in response to the

 9 May warrant to Federal Express, an.dressed to Special Agent Long. The cover letter referenced the
10 production of 4 files, including a mailbox file, along with associated hash values for each file. Special
11   Agent Long reported to AUSA Haun that this production did not contain any mailbox files, something
12 she had other agents review and confirm. Google belieyes that its June 13 production did include
13   mailbox files. In any event, Google produced the mailbox file on August 9, 2013.
                                                                                                                II
14          15.     Specifically, on August 9, 2013, a Google Custodian of Records sent materials
                                                                                                                J
15 responsive to the May warrant to Agent Long via Fede~al Express. Agent Long was able to access               i
16 mailbox files from this production. At this point, the witness to whom the mailbox files pertained had
17   already testified before th.e Grand Jury, as discussed above.

18 LITIGATION
19         . 16.    On Jurie 27, 2013, the United States filed under seal a Motion for Order to Show Cause
20 for Noncompliance with Two Federal Court Orders ("Motion'}

21          17.     On August 6, 2013, this Court issued an Order to Show Cause under seal directing
22   Google to file a response within two weeks of service of the Order.

23          18.     The United States served the Order to Show Cause on Google on August 8, 2013, making
24   Google's response date August22,.2013.

25           19.    On August 21, 2013, the United States and Google filed a joint Stipulation seeking an
26   extension of time for Google's response to the Order to Show Cause to September 12, 2013. Thereafter,
27   the parties jointly requested, and the Court granted, a number of extensions of time for the response
28 while the parties engaged in negotiations to resolve the Motion. ·Most recently, the Court granted

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                                                                                                                      II
 1 Google an extension to June_l3, 2014.
 2          20.
              .
                     On October 22, 2013, the United States moved to unseal its Motion for an Order to Show
                                                             .
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 3 Cause given that the underlying April and May warrants were both by that point unsealed. The Court
 4 granted the government's unsealing motion.
 5 FACTlJAl.. BACKGROUND
 6          21.      Google represents that it has a specialized team within the legal department tasked with
 7 responding to legal process issued by law enforcement entities in the United States. In 2013, Google
 8 reported receiving 21,492 pieces of legal process seeking information on 39,937 accounts.

 9        · 22.      Google represent~ that during the second q_uarter of 2013, when the volume oflegal
1O process was hitting record highs, the la"". enforcement compliance unit lost several experienced
11 members. This led to significant delays in Google's response to legal process, including the April
12 search warrant and the May search warrant.. Google acknowledges that this backlog significantly
13 delayed its processing of the April search warrant and the May search warrant, and further
14 acknowledges that the tooling issues described below caused it to not make a production in response to
15 the March Grand Jury subpoena. Google further acknowledges that it did not contact the government or
                                                                                                                      !
16 .the Court to alert them or to request extensions.                                                                 i
            23.      Google represents that its law enforcement compliance unit uses export tools to extract          I
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18 data in response to legal process related to Google accounts an4 services, The response to the March
                                                                                                                 ii
19 subpoena was delayed because on April 1 and April 3, team members of increasing seniority attempted
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20 to ext~act the data, but eaph time the tool returned a message that would be expected when the target.
                                                                                                                 I    1
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21 number is not associated with a Google account. Google :further "represents that it ultimately determined     I
22 that the account at issue in the March subpoena and the ~ubsequent April warrant had been deleted by          I
                                                                                                                .i
23 the user on March 14> 2013, and was purged by the system on April 14, ;2013. Because Google's system
24 may have incorrectly indicated that Google did not have responsiv.e data related to. this subscriber,~
25 Paragraph.24, Google responded to the March subpoena with a letter stating that it had found no

26 responsive documents.
            24. ·    After receiving the Order to Show Cause, Google represents that the law enforcement
28 compliance unit discovered two issues related to the export tooling that may or may not have impacted

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      Case 3:16-mc-80263-RS Document 49-7 Filed 05/05/17 Page 7 of 18




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  1 the ability to produce records intesponse to the March subpoena and the April warrant. Specifically, the
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  2 engineering tool Google used experienced a "tool failure" such that it generated a failure message
  3 indicating that no responsive data was found once a user deleted or closed an account, even if Google in
  4 fact possessed-responsive data. Google determined that it generally maintains subscriber information
  5 and call records associated with an account for 30 days after an account was deleted, i.e. in this case
  6 until about April 14, 2013, but that information was not being extracted by the team's exp~rt tools and
                                                                                                                         I
 ·7 could only be obtained through a manual query by an engineer. Google also discovered that, during the
  8 relevant time period, data related to telephone calls placed to and from a Google Voice number was·
  9 stored in a separate database for'a period of 90 days from ~he date the call was made, but this data could
10 also only be retrieved through a manual 9-uery by an engineer.
11              25.       Thus, the parties agree that during the timeframe that Google was under the March
12 subpoena and the April warrant for the subject account, Google may have possessed data responsive to                  ii
13 that subpoena and that search warrant, to include subscriber name, infonnation and content associated
14 with the subject number, but because of both the above~described tooling issues and the backlog in its
                                                                                                                         I
15 compliance department, .the legal compliance ·unit was unaware of the potential existence of such ·
                                                                                                                         II
16 records. Any such records; to the extent they existed at the tiin.e of the March subpoena, and/or April
17 warrant, have since been purged and are not available for the murder trial which the govenunent
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                                                                                                                     . J

 18 represents has been set in the underlying case.
· 19 RESOLUTION                                                                                                      l
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20              26.       Toe United States and Google have engaged in constructive discussions aimed at             .l I!
21    addressing the concerns of the United States.                                                                  I1  I

 22             27.       Google represents that since the government's Order to Show Cause was filed it has
 23 increased the size of its law enforcement compliance unit and has now res~lved the.backlog and that for
                                                                                                                         t
 24 the first quarter of 2014, the average tum~around time for responding to criminal legal process from U.S.
            .         .
 25 authorities was 8 days from the date of receipt.
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 26             28.       Google represents that it bas also created a dedicated email address for prosecutors and
 27 agents to request expedited handling for (or to inquire about the status of) pending warrants and other
 28 compulsory process, and informed Assistant United States Attorneys in this and oth~r Districts of its

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 1 availability.
 2          29.      Google represents that it has also completed engineering efforts to ensure that it can
 3 produce available records offue type at issue here in response to future valid legal process seeking such
 4 records.
 5          30. ·    Go.ogle represents that it has riow provided to the United States all currently available
 6 information responsive to the above-referenced legal processes. Google acknowledges that records
 7 responsive to the March Grand Jury subpoena and the April search warrant may have still existed at the ·
 & time 9fthe March subpoena and April search warrant, and if so could have been provided to the United

 9 States, but were not because ofGoogle 1s tooling issues and backlog detailed above, and Google
10 represents that it was unaware of the potential existence of sueh records at the time.
11          31.      Google understands that the United States intends to summon Google employees to
12 testify truthfully at trial in 13-CR-93-JST conceming these facts    and circumstances.    Google agrees that
13 it will provide such witnesses and has accepted service of a summons accordingly.
14          32.      It is hereby STIPULATED AND AGREED by and between the undersigned counsel for
15 Google and the United States that, in light of the steps Google has taken in response to the government's
·16 motion, the Motion for an Order to Show Ca~se shoul~ be dismissed without prejudice. It is hereby
17 further STIPULATEP AND AGREED that the instant STIP-qLATION pertains only to the March
1& subpoena, the A:p:ril warrant, and the May warrant discussed herein and the United States Attorney's
19 Office for the Northern District of California does not by entering into this STIPULATION intend to             :i I1·
20 bind any other office or jurisdiction that may assert noncompliance with legal process in the future.
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      2 DATED: June 13, 2014                                               Isl

      3                                                    KATHRYN R. HAUN
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      4
      5                                                     Counsel foi: United States

      6 DATED: June 13, 2014
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                                                           Counsel_for Google fu.c.
     14
     15         Pursuant to STIPULATION, and given the Resolution in the parties' joint stipulation above, the
     16 Motion for Order to Show Cause is hereby dismissed without prejudice. IT IS SO ORDERED.
     17                                                                                                          ;     {




     18 DATED:    .<;·urt--   I~
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     20
                                                            HON~AURELBEELER
     21                                                     United States Magistrate Judge

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                             UNIIBD STATES DISTRICT COURT
                                            FOR THE
                            NORTHERN DISTRICT OF CALIFORNIA ·



UNITED STATES,                                       Case Number: CR 13-90556 MISC LB
               Plaintiff,                            CERTIFICATE OF SERVICE
  v.
UNDER SEAL,

               Defendant.
-------------~/
t the undersigned, hereby certify that I am an employee in the Office of the Clerk, U.S. District
Court, Northern District of California,
That on June 18, 2014, I SERVED a true and correct copy(ies) of the attached, by placing said
copy(ies) in a postage paid envelope addressed to the persori(s) hereinafter listed, by depos\ting
said envelope in the U.S. Mail, or by placing said copy(ies) into an inter~of:ftce delivery
receptacle located in the Clerk's office.


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Kathryn R, Haun               .
United States Attorney's Office
450 Golden Gate Avenue
San Francisco, CA 94102


Dated: June 18, 2014                          .l'~vti~
                                              Richard W. Wieking, Clerk
                                              By: Lashanda Scott, Deputy Clerk
     Case 3:16-mc-80263-RS Document 49-7 Filed 05/05/17 Page 11 of 18




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                                    UNITED STATES DISTRICT COURT ·
16                                                                                           '
                                  NORTHERN DISTRICT OF CALIFORNIA
17
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                                         SAN FRANCISCO DIVISION
18                                                                                           I1
19                                                  ) Case No. CR 16-mc-80263 (LB)           r ,
   IN RE: SEARCH WARRANT FOR                    .   )                                        I    I
20 PRODUCTION BY GOOGLE ISSUED ON                   )                                        J
   JUNE 30, 2016                                      DECLARATION OF HSI SPECIAL AGENT


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                                                                                             i
21                                                    MICHAEL DELANEY IN SUPPORT OF UNITED   }
                                                      STATES' RESPONSE TO GOOGLE             i    !.
22                                                                                           ;' lI
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     --'-------~                                            FILED UNDER SEAL                 f
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     DECLARATION OF SA DELANEY                                                               l

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     Case 3:16-mc-80263-RS Document 49-7 Filed 05/05/17 Page 12 of 18




 I I, Michael Oelaney1 hereby swear and affirm under penalty ofpetjury as follows:
 2      l , I am a Special Agent with Homeland Security Xnvestigationa (hereinafter "llSI"), U.S.
3          Department of Homeland Securi~.
 4      2. In my capacity a:i a Special Agent, I have been assigned to the instant investigation that involves
 s
 6      3. On June 30, 2016, this Court.issued.a search warrant for data from Google, Inc., con.cemin
 7         Gmail acco1.U1ts used by the targets of this investigat!o,r.
 8      4. On July 6, 2016, I served the search warrant issued by pus Court on Google.
 9      S. The search warrant called for execuUon by July 141 2016, and production by Google

10         11
                FORTHWJTH.1'
11      6. By July 14, 20) 6, Ooogle provided nothing.
12      7. On September 28, 2016, Gooate provided certain Gmail account ,information responsive to the
13         seareh warrant. Notably, this production missed certain email attachments and data for certain.
14         emails accounts that had been .sought Utlder the Warrant,· data thllt was expected to be responsive
IS         to the Court's search warrant.

16      8. Along with Ooogle's September 28, 2016 response with data it provided pursuant to the seatch
17         warrant, they indic~ted In a letter enclosed with the data that they would not further cotnply with
]8         the iiearch warrant, as it would not produce certain data, oitln$ the case of Mlctosoft, Inc. "·
19          United Slates, 2016 WL 3770056 (2nd Cir. July 14, 2016). In Google's response, it did not
20          provide a telephone number for contact, only their general em.ail address for U.S. law
21         enforcement correspondence,
22      9. On October 3, 2016, I emailed Google requesting clarification as in their irutial response1 there
23          was no information provided as to speclfically what data was or ·was not provided.
24      1o. Subsequent ·examination of the ·data provided by Ooogte·by myself and other agents indicates
25         that the government received a considerable mnount of email data responsive to the search
26         warrant. However, most notably, files a~bed to and_sent with the email evidence
27          ("atw:bments•1) were not present with the email infonnation itself.
28      11. On October 12, 2016, I was contacted by and spoke wlth·a Google elT!,ployee concerning my
     ,PECLARATIO'N OF SA DBLANBY
     Case 3:16-mc-80263-RS Document 49-7 Filed 05/05/17 Page 13 of 18




 l          October 3 inquiry about the data they did not provide to the government. The Google employee
 2          said due to the 2nd Circuit M/c~osojt decision, Google's position was tha.t Gmail data stored on
 3          Google's overseas seivers was not to be provided to the govenunent. The employee explained,
                                                                  .~(F'""· ..       -'?-   i
 4          this primarily impacted th!' emall communications o i,_    . --=--.:   --      ••
                                                                                               ought through the

 5         search warrant.
 6      12. The Google employee also explained ibe reason why the email attaclunents were not present is
 7          thot this type of information is send in "paokets" through the inteme~ in essence, the data files
-8         are broken in many different pieces, sent by varying routes to their de_stination, where they arc
 9         reassembled. The net effect to the government in this case being that since certain packets would
10         transit Google's network abroad, those packets trans.iting overseas then are not available, for
11        , reassembly with other packets of responsive data. Therefore, the email atqlcbments, missing
12         those packets sent c,verseos, cannot properly teassemble and be BBsirnilated with the rest of the
13         emall data to complete the email files to be provided to the govem01ent as ordered by the court.
14      13·. In volcemail to AUSA Frentzen, Google counsel, John R. Tyler ~eferenced the Court's search
15         warrant es a ''request" to Google.
                                             0


16      14. By November 18, 2016, Google pravided a '~supplemental,. production of materials. The data
17         remained apparently incomplete.
18      15. On November 21, 2016, Google provided a letter with "objectiona" to the Warrant and indicated
19         that it had not provided all ofthe data demanded by the Wmant.
20      16. Google did not move to quash the warrant until December 6, 2016.
21
22 So sworn, thi11    l?J1'ttday of.January, 2017.
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25                                                               Special Agent Mio acl Delaney
26                                                               Homeland Seourit Invesdgatlons

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     DBCLARATION OP SA oeLANBY
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 Case 3:16-mc-80263-RS Document 49-7 Filed 05/05/17 Page 14 of 18




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                                                                                                          (415)436-7200
                                                                                                         FAX: (415) 436-
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 Hon. Laurel Beeler             e.~
 United States Magistrate Ju~'\,>" ·
 Northern District of California'
  450 Golden Gate Avenue
· San Francisco, CA 94102

        Re: In re: Search Warrant.for Production by Google Issued on June 30, 2016
            3: 16-IylC-80263 (LB) UNDER SEAL

· Dear Judge Beeler:

        This letter is intended to notify the Court of additional supplemental authority ihat issued
following the :filing of the Government's Opposition and Motion to Show Cause. On February 3,
2017, the Honorable Magistrate Judge Thomas Reuter from the Eastern District of Pennsylvania
issued the attached ruling in connection with two search warrants sought by the government.
The govemment beli~ves that the tuling by Judge Reuter is relevant to this Court's decision.

                                              Respectfully,

                                              BRIAN J. STRETCH
                                              UNITED STATES ATTORNEY


                                       By:
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                                              illiam.Frentzen                     V
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                                       U·     Assistant United States Attorney




 Enc.
 cc: Todd Hinnen, Esq. (counsel for Google, Inc.)
      Case 3:16-mc-80263-RS Document 49-7 Filed 05/05/17 Page 15 of 18




                                                                                          I   I
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 8        Fax: (415) 436-7234
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 9
     Attorneys for United States of America.
10
                                    UNITED STATES DISTRICT COURT
11
                                  NORTHERN DISTRICT OF CALIFORNIA
12
                                         SAN FRANCISCO DIVISION
13
14 In the Matter of the Search of Conten             Case No. 3:16-mc-80263~LB
                     tored at the Premises
15  ontro e. y oogle Inc. and Further
   Described in Attachment A                         UNITED STATES' UNOPPOSED MOTION TO
10                                                   CONTINUE HEARING            .
17                                                   FILED TJN])ER SEAL
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     USA'$ UNOPPOSED MOTION TO CONTINUE flEARING
     Case No. 3:16-mc-80263-LB
            Case 3:16-mc-80263-RS Document 49-7 Filed 05/05/17 Page 16 of 18




  1                  The government hereby respectfully requests that the Court continue the hearing in this matter
  2 from February 16, 2017 to February 20 or 21, 2017. The request is based on the following:

  3            1. AUSA Frentzen is scheduled to teach at the National Advocacy Center from February 14
  4                  through 17, 2017; and

  5            2. Trial Attorney An.drew Pak from the Computer Crimes and Intellectual Property Section of the

  6                  Department of Justice will travel from Washington, D.C., to San Francisco for the hearing and

  7                  February 20 or 21, 2017 are better dates for his attendance.

  8                  Based on the foregoing, the government is requesting that the Court select one of these proposed
  9 alternate dates for the hearing, or anotner date convenient to the Court and the parties. The government
10 has conferred with Google Inc. ("Google") and Google does not object to the government's request for a

11      continuance, Due to the nature of the litigation, the government also respectfully requests that the Court-
12      order this document be filed under seal.
13 Dated: February 3, 2017                                                Respectfully submitted,

14
                                                                          BRJAN J. STRETCH
15                                                                        United States Attorney
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                                                                                    aun
18                                                                        Merry Jean Chan
                                                                          Assistant United States Attorneys
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2'1                  IT IS HEREBY ORDERED, that for good cause shown th.is document shall be fileiii.ii.ct
22 maintained UNDER SEAL until further order of this Court.
23

24 Date: ......>o<.------',--------"-..,,__,_.,__..,.,__,___
                                                                      .L      BEELER
25
                                                                  UNITED STATES MAGISTRATE JUDGE
26                                                                NORTHERN DISTRICT OF CALIFORNIA

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        USA'S UNOPPOSED MOTION TO CONTINUE HEARING
        CASE NO. 3:16-MC--80263-LB
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                          Case 3:16-mc-80263-RS Document 49-7 Filed 05/05/17 Page 17 of 18




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                 1 . BRIAN J. STR'ETCH (CABN 163973)                                            I
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                     United States Atto111ey
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                   BAlillMA VALLIERE (CABN 147374)                                                ·- p 3: 5 I
                 S Cl1i'ef, Criminal Division
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       I         4 WILLIA.fyf FRENTZEN (LABN24421)                                                                  . . ·r
       I           KATHRYN HAUN (DCBN 484131)
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                       Attorneys for United States of~ 1~~icn '
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                                                         UNITED STAIBS DISTRICT COURT
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                13                                                                                             NORTHERN it~JST!itor COURT
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                       In the Matter of the Soru.:ch of Conte11          Case No. 3:16-mc-80263-LB                                    O/iNI
( "" 14                             ·Stored at the P,:emise
                15 Cqntrolled by oogle, Inc. and Further
                                                                         UNITED ·srATES' CORRECTION TO
                   Described in Al-tachment A                            UNOPPOSED MOTION TO CONTINUE
                16
                                                                         HEARING
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                                                                         FILED UNDER SEAL
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                       USAIS COAABCTION TO UNOPPOSED MOTION TO CON'J1NUEFIEARINO
        Case 3:16-mc-80263-RS Document 49-7 Filed 05/05/17 Page 18 of 18




   1         The government moved the Court to continue the hearing in this matter from February 16, 2017
  2 to February 20 or 21, 2017. The gover.n;mentnowunderstandsthat February 20, 2017, is a holiday for
  3 the Court- George Washington's Birthday (Presidept's Day). As a result, the government moves for

  4 the Court to continue the hearing to February 21, -2017.

  5          Due to the nature of the litigation, the government also respectfully requests that the Court order

  6 this document be filed under seal.

  7 Dated: February 6, 2017                                       Resp~ctfully submitted,

  8
                                                                  BRIAN J. STRETCH
  9                                                               United States Attorney
 10
                                                                  William Frentzen
 11
                                                                  Kathryn Haun
 12                                                               Meny Jean Chan·
                                                                  Assistant United States Attorneys
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 14
 15          IT IS HEREBY ORDERED; that for good cause shown this document shall be filed and
 16 maintained UNDER SEAL until further order of this Court          ~ <. 1' e>\ '1 j
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 18 Date;
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                                                          UNITED STATES MAGISTRATE JUDGE
                                                          NORTHERN DISTRICT OF CALIFORNIA                          ,)




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       USA'S CORRECTION TO UNOPPOSED MOTION TO CONTINUE BEARING
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